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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                     *                 CIVIL ACTION
                                          *                 No. 12-00859
VERSUS                                    *
                                          *                 HON. LANCE M. AFRICK
MARLIN GUSMAN, ET AL.                     *                 SECTION: I
                                          *
                                          *                 MAG. MICHAEL B. NORTH
                                          *                 SECTION: 5
* * * * * * * * * * * * * * * * * * * * * *

                      SHERIFF GUSMAN’S POST-HEARING BRIEF

       Marlin N. Gusman, Sheriff of the Parish of Orleans (hereinafter referred to as “Sheriff

Gusman”), respectfully submits this Post-Hearing Brief pursuant to R. Doc. 1359. Sheriff Gusman

hereby adopts and incorporates the arguments and authorities set forth in the Post-Hearing Brief

of the Independent Jail Compliance Director Darnley R. Hodge, Sr. (R. Doc. 1360). For the

reasons stated therein, Sheriff Gusman agrees that the City of New Orleans has failed to carry its

burden, and thus its Motion for Relief from Court Orders of January 25, 2019 (R. Doc. 1221) and

March 18, 2019 (R. Doc. 1227) must be denied.

                                             Respectfully submitted,

                                             CHEHARDY, SHERMAN, WILLIAMS,
                                             MURRAY, RECILE, STAKELUM
                                             & HAYES, LLP

                                             /s/ Patrick R. Follette_________________
                                             JAMES M. WILLIAMS, BAR NO. 26141
                                             INEMESIT U. O’BOYLE, BAR NO. 30007
                                             PATRICK R. FOLLETTE, BAR NO. 34547
                                             One Galleria Boulevard, Suite 1100
                                             Metairie, Louisiana 70001
                                             Telephone: (504) 833-5600
                                             Facsimile: (504) 833-8080

                                             -and-


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                                               ORLEANS PARISH SHERIFF’S OFFICE
                                               BLAKE J. ARCURI, BAR NO. 32322
                                               LAURA C. RODRIGUE, BAR NO. 30428
                                               FREEMAN R. MATTHEWS, BAR NO. 9050
                                               2800 Perdido Street
                                               New Orleans, LA 70119
                                               Tel: 504.202.9404 Fax: 504.202.9454
                                               arcurib@opso.us; rodriguela@opso.us

                                 CERTIFICATE OF SERVICE

       I do hereby certify that on this 30th day of October 2020, a copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent

by operation of the court’s electronic filing system. I also certify that a copy of the foregoing will

be sent to all non-CM/ECF participants by United States Mail, properly addressed and postage

pre-paid.


                                                      /s/ Patrick R. Follette_____________
                                                      Patrick R. Follette




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